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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             :
                                      :
      v.                              :        No. 21-mj-00607
                                      :
RICHARD BRYAN WALTROUS,               :
    Defendant.                        :


                           NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance, nunc pro tunc, to October 4, 2021 on behalf of the

Defendant, Richard Bryan Waltrous, in the above-captioned criminal cause.



                                       Respectfully Submitted,



                                       __________-S-___________________
                                       Allen H. Orenberg, # 395519
                                       The Orenberg Law Firm, P.C.
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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 5th day of October, 2021, a copy of the foregoing Notice of

Appearance, was delivered to case registered parties by the CM/ECF court system.




                                               ___________-S-___________________
                                               Allen H. Orenberg




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